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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No. 21-cr-609
                  v.                          :
                                              :
         JEREMY BROWN,                        :
                                              :
                Defendant.                    :



                                 NOTICE OF APPEARANCE

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, enters the appearance of Eli Ross as counsel of record in the above-

captioned proceeding.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052


Dated:   May 13, 2024                   By:   /s/ Eli Ross
                                              Eli Ross
                                              Assistant United States Attorney
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